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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  PIKEVILLE DIVISION

                                  CIVIL NO: 5:11-cv-00267-KSF



WALKER JOHNSON and TONYA
JOHNSON,

           Plaintiffs,                                       NOTICE OF SETTLEMENT AND
                                                             WITHDRAWAL OF PLAINTIFFS’
vs.                                                          MOTION TO AMEND OR ALTER
                                                             THE JUDGMENT AND RENEWED
BRACHFELD & ASSOCIATES,                                      MOTION FOR ATTORNEYS’ FEES

           Defendant

             * * * * * * * ** * * * * * * ** * * * * * * ** * * * * * * *

         Now Come, Plaintiffs, Walker Johnson and Tonya Johnson, by and through their

attorneys, Krohn & Moss, Ltd. (“K&M”), and hereby informs the Court that a settlement of the

present matter has been reached and is in the process of finalizing settlement, which Plaintiffs

anticipates will be finalized within the next 60 days.

         Additionally, as the parties have reached a full settlement in this matter, Plaintiffs hereby

inform this court that they withdraw Plaintiffs’ Motion to Amend or Alter the Judgment Pursuant

to 59(e) (Document No. 22) and Plaintiffs’ Renewed Motion for Attorneys’’ Fees (Document

No. 23).

                                                         RESPECTFULLY SUBMITTED,

Dated:           February 14, 2012
                                                         KROHN & MOSS, LTD.

                                                         By: /s/Lee Cassie Yates
                                                         Lee Cassie Yates – Atty No. 91821
                                                         Attorney for Plaintiffs
                                                         KROHN & MOSS, LTD.
                                                         10 N Dearborn Ave, 3rd Fl


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                                                    Chicago, Illinois 60602
                                                    (312) 578-9428




                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was served upon the counsel(s) of record for

Defendant via the Court’s Electronic Court Filing ECF/CM system on February 14, 2012.



                                                            By: /s/ Lee Cassie Yates
                                                               Lee Cassie Yates




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